                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA GEORGIA


KEITH EDWARDS as Guardian and
Conservator for JERRY BLASINGAME,              .
                                               .
      Plaintiff,                               .
                                               .
                                               .
                                               Case No. 1:19-cv-2047-SCJ
v.                                             .
                                               .
OFFICER J. GRUBBS, #6416,                      .
and CITY OF ATLANTA/                           .
ATLANTA POLICE DEPARTMENT                      .
                                               .
                                               .
      Defendants.                              .


                            SUGGESTION OF DEATH


      On Thursday, September 7, 2023, Mr. Jerry Blasingame died as a result of

complications from his permanent and serious injuries, namely quadriparesis. The

Fulton County Medical Examiner took custody of Mr. Blasingame’s body and, based

on information and belief, have already conducted an autopsy. Pursuant to Fed. R.

Civ. P. 25, Plaintiff will shortly file the appropriate motion with the court in order to

substitute the proper party. Specifically, Keith Edwards, who is currently listed as

guardian and conservator for Mr. Blasingame, will ultimately be substituted as the

administrator of Mr. Blasingame’s estate when the appropriate paperwork is
                                           1
finalized in the Walker County Georgia Probate Court. Plaintiff is aware that this

case is currently closed in the District Court but is attempting to ensure that each

Court involved in this matter is aware of Mr. Blasingame’s death. Plaintiff has

likewise filed suggestions of death in each of the open appeals in the United States

Court of Appeals for the Eleventh Circuit

                                       Respectfully submitted,

                                       JOHNSON LAW, PLC

                                   By: /s/ Vernon R. Johnson
                                      VERNON (VEN) R. JOHNSON
                                       (MI Bar P39219)
                                      Attorneys for Plaintiff
                                      535 Griswold, Suite 2600
                                      Detroit, MI 48226
                                      (313) 324.8300
                                      vjohnson@venjohnsonlaw.com

Dated: October 5, 2023



                         CERTIFICATE OF SERVICE

              On October 5, 2023, the undersigned caused the foregoing
      document to be filed electronically with the United States District Court
      and that a copy of said document was sent to all parties having appeared
      in this matter, through their counsel of record, via the Court’s CM/ECF
      electronic filing system.

                         /s/ Liza Dodson
                           Liza Dodson, Paralegal
                           JOHNSON LAW, PLC



                                         2
